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                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                      )     MDL No. 16-2740
PRODUCTS LIABILITY                               )
LITIGATION                                       )     SECTION: “H” (5)
                                                 )
This document relates to:                        )
Elizabeth Kahn, 16-17039                         )

                               ORDER AND REASONS

         Before the Court is Plaintiff’s Motion to Exclude Causation Testimony of
Dr. Gerald Miltello (Doc. 10919). The Court held oral argument on the Motion
on October 7, 2020. For the following reasons, the Motion is GRANTED IN
PART and DENIED IN PART.


                                    BACKGROUND

         Plaintiffs in this multidistrict litigation (“MDL”) are suing several
pharmaceutical        companies      that   manufactured      and/or   distributed   a
chemotherapy drug, Taxotere or docetaxel, 1 that Plaintiffs were administered
for the treatment of breast cancer or other forms of cancer. Among these
companies are Defendants sanofi-aventis U.S. LLC and Sanofi U.S. Services
Inc. (collectively, “Sanofi” or “Defendants”). Plaintiffs allege that the drug
caused permanent alopecia—in other words, permanent hair loss. Plaintiffs
bring claims of failure to warn, negligent misrepresentation, fraudulent
misrepresentation, and more. The first bellwether trial was held in September
2019, and the second is set for May 24, 2021. 2
         In the instant Motion, Plaintiff Elizabeth Kahn, the second bellwether
plaintiff, moves to exclude testimony from Dr. Gerald Miletello. Dr. Miletello

1   Docetaxel is the generic version of Taxotere.
2   The second trial was continued due to the COVID-19 pandemic.
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is an oncologist with years of experience treating breast cancer and other
cancers. In her Motion, Plaintiff argues that Dr. Miletello’s opinions are
unreliable and misleading. Sanofi opposes the Motion.


                                    LEGAL STANDARD

       The admissibility of expert testimony is governed by Federal Rule of
Evidence 702, which provides as follows:
       A witness who is qualified as an expert by knowledge, skill,
       experience, training, or education may testify in the form of an
       opinion or otherwise if:
               (a) the expert’s scientific, technical, or other specialized
               knowledge will help the trier of fact to understand the
               evidence or to determine a fact in issue;
               (b) the testimony is based on sufficient facts or data;
               (c) the testimony is the product of reliable principles and
               methods; and
               (d) the expert has reliably applied the principles and
               methods to the facts of the case. 3
       The current version of Rule 702 reflects the Supreme Court’s decisions
in Daubert v. Merrell Dow Pharms., Inc. 4 and Kumho Tire Co. v. Carmichael. 5
The threshold inquiry in determining whether an individual may offer expert
testimony under Rule 702 is whether the individual has the requisite
qualifications. 6 After defining the permissible scope of the expert’s testimony,
a court next assesses whether the opinions are reliable and relevant. 7 As the

3 FED . R. EVID . 702.
4 509 U.S. 579 (1993).
5 526 U.S. 137 (1999).
6 Wagoner v. Exxon Mobil Corp., 813 F. Supp. 2d 771, 799 (E.D. La. 2011). See also Wilson v.

  Woods, 163 F.3d 935, 937 (5th Cir. 1999) (“A district court should refuse to allow an expert
  witness to testify if it finds that the witness is not qualified to testify in a particular field or
  on a given subject.”).
7 See United States v. Valencia, 600 F.3d 389, 424 (5th Cir. 2010). See also Wellogix, Inc. v.

  Accenture, L.L.P., 716 F.3d 867, 881–82 (5th Cir. 2013).

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“gatekeeper” of expert testimony, the trial court enjoys broad discretion in
determining admissibility. 8
       First, to assess reliability, a court considers whether the reasoning or
methodology underlying the expert’s testimony is valid. 9 The party offering the
testimony bears the burden of establishing its reliability by a preponderance
of the evidence. 10 Courts should exclude testimony based merely on subjective
belief or unsupported speculation. 11 Courts must, however, give proper
deference to the traditional adversary system and the role of the jury within
that system. 12 “Vigorous cross-examination, presentation of contrary evidence,
and careful instruction on the burden of proof are the traditional and
appropriate means of attacking shaky but admissible evidence.”                 13   After
assessing reliability, a court evaluates relevance. 14 In doing so, a court must
determine whether the expert’s reasoning or methodology “fits” the facts of the
case and will thereby assist the trier of fact in understanding the evidence. 15
       Federal Rule of Evidence 703 further provides that an expert may offer
opinions based on otherwise inadmissible facts or data but only if (1) they are
of the kind reasonably relied upon by experts in the particular field; and (2)
the testimony’s probative value substantially outweighs its prejudicial effect. 16




8 Wellogix, 716 F.3d at 881.
9 See Daubert, 509 U.S. at 592–93.
10 See Moore v. Ashland Chem. Inc., 151 F.3d 269, 276 (5th Cir. 1998).
11 See Daubert, 509 U.S. at 590.
12 See id. at 596.
13 Id.
14 Burst v. Shell Oil Co., 120 F. Supp. 3d 547, 551 (E.D. La. June 9, 2015).
15 Id.
16 FED . R. EVID . 703.

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                               LAW AND ANALYSIS

     I.   Dr. Miletello’s Causation Opinions
          First, Plaintiff argues that Dr. Miletello should not be able to opine on
whether other drugs or conditions cause permanent hair loss. Plaintiff avers
that Dr. Miletello did not use a reliable methodology to assess causation for
these other possible causes. In response, Sanofi argues that unlike Plaintiff,
Sanofi is not required to prove general or specific causation and need not use
the same methodologies as Plaintiff. For the reasons provided in its order on
Plaintiff’s Motion to Exclude Testimony of John Glaspy, M.D., the Court rejects
Plaintiff’s argument and will not limit Dr. Miletello’s testimony on this basis. 17
          Plaintiff next argues that Dr. Miletello makes misleading statements
with little support. Plaintiff specifically takes issue with Dr. Miletello’s
statement that certain chemotherapy drugs, the aging process, and certain
endocrine-based therapies may be responsible for a woman’s hair loss. Plaintiff
argues that this statement is based only on case studies and anecdotal reports,
and jurors may make an inferential leap based on this to conclude that these
occurrences can cause hair loss. The Court, however, disagrees. Dr. Miletello’s
years of clinical experience make him qualified to offer such a statement, and
the Court disagrees that such a statement would mislead the jury to make any
obvious erroneous conclusions.
          The Court, however, will limit Dr. Miletello’s testimony. The Court has
noticed that both Dr. Glaspy and Dr. Miletello intend to testify on the types
and causes of alopecia they have seen in their clinical practices. Similarly, both
doctors intend to testify on alternative explanations for Plaintiff’s hair loss. At
oral argument, counsel for Sanofi admitted that the two doctors have
overlapping testimony, although counsel stated that Dr. Glaspy’s opinions are

17   See Doc. 11780.
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more expansive. Considering this, the Court will preclude Dr. Miletello from
offering any opinions that are duplicative of Dr. Glaspy’s opinions.

     II. Dr. Miletello’s Other Opinions
         Lastly, Plaintiff takes issue with several of Dr. Miletello’s opinions
regarding Taxotere. The first is his opinion that Taxotere offered Plaintiff “the
best chance of survival” compared to all other chemotherapy drugs, including
Taxol. Plaintiff avers that this contradicts what the FDA has said, which is
that Taxotere and Taxol offer the same chance of survivability and efficacy. In
response, Sanofi avers that Dr. Miletello will opine only that taxane-containing
regimens have shown better efficacy than older non-taxane-containing
regimens.
         To the extent his testimony is not duplicative of others’ testimony, the
Court will permit Dr. Miletello to testify about the efficacy of taxane-containing
regimens. This opinion is supported by the medical literature and his years of
clinical practice. Further, Sanofi concedes that Dr. Miletello finds Taxotere and
Taxol equally efficacious. Indeed, at his deposition, Dr. Miletello agreed that
Taxotere or Taxol would have given Plaintiff the best chance of survival. 18 The
Court, therefore, does not anticipate that Dr. Miletello will contradict himself
as Plaintiff argues. To the extent that he does, Plaintiff can illuminate this on
cross-examination.
         The next opinion Plaintiff challenges is Dr. Miletello’s opinion as to what
he believes was the best regimen to treat Plaintiff’s breast cancer. Dr. Miletello
testified that he “would have preferred Taxotere over Taxol in her situation.” 19
In response, Sanofi emphasizes that in his report, Dr. Miletello discusses the
risks and benefits of each drug and that he supports his opinions with clinical


18   Id. at 3.
19   Doc. 10919-3 at 9.
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experience and medical literature. Sanofi further argues that the risk-benefit
analysis of Taxotere as compared to other chemotherapies is very relevant to
the jury.
         The Court will permit Dr. Miletello to testify about his personal
prescribing preferences and the risk-benefit analysis he employs in making his
prescribing decisions. The jury will have to consider how Plaintiff Kahn and
her treating physician would have weighed the risks and benefits of her
treatment options, and Sanofi must be permitted to offer testimony that bears
on this analysis.
         Finally, Plaintiff challenges Dr. Miletello’s opinion on the adequacy of
the Taxotere label. Plaintiff argues that Dr. Miletello is not a labeling expert
and that under the learned intermediary doctrine, only Plaintiff’s prescribing
oncologist should be able to testify about how he interpreted the label. In
response, Sanofi argues that Dr. Miletello’s understanding of the Taxotere
label language is part-and-parcel of his testimony about why he prescribes
Taxotere to his own patients.
         The Court will permit Dr. Miletello to testify about the Taxotere label
from his perspective as an oncologist. He may not, however, testify about
whether the label complied with the FDA regulations as this falls outside of
his expertise. 20


                                       CONCLUSION

         For the foregoing reasons, Plaintiff’s Motion to Exclude Causation
Testimony of Dr. Gerald Miletello (Doc. 10919) is GRANTED IN PART and

20   See Watkins v. Cook Inc., No. 13–CV–20370, 2015 WL 1395773, at *10 (S.D.W.Va. Mar.
     25, 2015) (allowing doctor to opine on label based on knowledge and experience with
     product, but not on FDA regulations); Deutsch v. Novartis Pharmaceuticals Corps., 768 F.
     Supp. 2d 420, 440 (E.D.N.Y. 2011) (finding doctors qualified to “opine as to the adequacy

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DENIED IN PART. Dr. Miletello’s testimony will be limited as described in
this opinion.
      New Orleans, Louisiana, this 12th day of January, 2021.




                                             JANE TRICHE MILAZZO
                                             UNITED STATES DISTRICT JUDGE




 of the labels from the perspective of oncologists and prescribing physicians” but not as to
 whether label complied with FDA regulations).
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